                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR06-4081-DEO
 vs.                                                           ORDER
 JOSE MARIA PACHECO-TAFOLLA,
               Defendant.
                                ____________________


        On May 12, 2008, the defendant mailed to the Clerk of Court a pro se request for
copies of certain unspecified transcripts from his case. Judgment was entered against the
defendant on April 9, 2007. He failed to file a direct appeal, with the result that the
judgment became final on April 23, 2007. See, e.g., Moshier v. United States, 402 F.3d
116, 118 (2d Cir. 2005) (“unappealed federal criminal judgment becomes final when the
time for filing a direct appeal expires”); Sanchez-Castellano v. United States, 358 F.3d
424, 428 (6th Cir. 2004) (same); Kapral v. United States, 166 F.3d 565, 577 (3d Cir.
1999) (same). Ordinarily, any motion to vacate the judgment or for other relief pursuant
to 28 U.S.C. § 2255 had to be filed within one year from the date the judgment became
final – in this case, by April 23, 2008.      Therefore, even liberally construing the
defendant’s pro se request for transcripts as a request for relief under section 2255, the
application comes too late.
        The defendant has failed to make any showing that he is entitled to copies of
transcripts at court expense when it appears the statute of limitations has run as to any
motion for relief under 28 U.S.C. § 2255. The motion is denied. However, the defendant
may reassert the motion if he is able to show one of the exceptions set forth in 28 U.S.C.




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§ 2255(f)(2), (3), or (4) applies that would allow him to file a motion under section 2255
outside the one-year statute of limitations period.
       IT IS SO ORDERED.
       DATED this 19th day of May, 2008.




                                          PAUL A. ZOSS
                                          CHIEF MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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